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 4
                                   UNITED STATES DISTRICT COURT
 5
                                          DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )                Case No. 2:11-cr-00434-LDG-PAL
 8                                 Plaintiff,  )
                                               )                            ORDER
 9   vs.                                       )
                                               )                 (Mtn to Withdraw - Dkt. #301)
10   VLADIMIR BUDESTEAN, et al.,               )
                                               )
11                                 Defendants. )
     __________________________________________)
12
13          This matter is before the court on Ms. Janet Markley’s Motion to Withdraw as Counsel for
14   Defendant Vladimir Budestean, docketed as a motion to withdraw by attorney Robert Walsh, (Dkt.
15   #301). The court has considered the Motion.
16          On December 13, 2011, the grand jury returned an Indictment (Dkt. #1) against Budestean and
17   other co-Defendants, charging Budestean with one count each of: (a) Wire Fraud in violation of 18
18   U.S.C. § 1343; (b) Conspiracy to Commit Wire Fraud in violation of 18 U.S.C. § 1349; and (c)
19   Conspiracy to Launder Monetary Instruments in violation of 18 U.S.C. § 1956(h). Budestean made an
20   initial appearance on December 15, 2011, with retained counsel Mr. John Momot, entered not guilty
21   pleas to each charge, and was detained pending trial. See Minutes of Proceeding (Dkt. #47); see also
22   Designation of Retained Counsel (Dkt. #98). On January 19, 2012, the court granted Mr. Momot’s
23   Motion to Withdraw as Counsel (Dkt. #127), and on January 31, 2012, Mr. Eric P. Roy was confirmed
24   as counsel of record for Budestean. See Minutes of Proceedings (Dkt. ##138, 141, 146); see also
25   Designation of Retained Counsel (Dkt. #147). On July 10, 2012, the court granted Mr. Roy’s Motion to
26   Withdraw as Counsel (Dkt. #201) and after reviewing Budestean’s financial affidavit, appointed Mr.
27   Randall Roske to represent Defendant. See Minutes of Proceedings (Dkt. ##208, 209); see also Order
28   Appointing Counsel (Dkt. #212).
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 1            On October 16, 2012, the grand jury returned a Superceding Indictment (Dkt. #243), charging
 2   Budestean with the same violations as the Indictment. Budestean appeared with Mr. Roske and was
 3   arraigned on the Superceding Indictment and pled not guilty to the charges. See Minutes of Proceeding
 4   (Dkt. #212).
 5            The Motion represents that Ms. Markley is unable to contact Budestean, and as a result, she
 6   cannot adequately represent him. She represents she served the Motion on Budestean at his last known
 7   address and on government counsel, Ms. Nadia Ahmed. However, it appears that Ms. Markley filed the
 8   Motion to Withdraw in the wrong case. First, the caption of the Motion refers to two criminal citation
 9   numbers, 2854191-N6 and 2854191-N6, not this criminal case. Second, Mr. Roske is still Budestean’s
10   counsel of record in this case. Third, Ms. Markley is not and has never been counsel of record for
11   Budestean in this case. Fourth, Mr. Timothy Vasquez and Mr. Michael Humphries are counsel of
12   record for the government; Ms. Ahmed is not. Fifth, Budestean is currently detained pending trial in
13   the Southern Nevada Detention Center in Pahrump, Nevada, which is why Ms. Markley has been
14   unable to contact Budestean at his last known address or phone number.
15            Finally, on November 27, 2012, the Clerk of the Court entered a Notice (Dkt. #310) to Ms.
16   Markley advising her that she is not counsel of record for Budestean in this case, the caption of the
17   Motion lists two citation numbers, and she used another attorney’s CM/ECF account to file the Motion,
18   which is not an acceptable practice. The Notice directed Ms. Markley to contact the Clerk of the
19   Court’s help desk to advise whether the Motion was simply misfiled. The Clerk of the Court has
20   advised the undersigned’s staff that Ms. Markley has not complied.
21            Having reviewed and considered the matter,
22            IT IS ORDERED that the Clerk of Court shall STRIKE the Motion to Withdraw (Dkt. #301)
23   as filed in the wrong case.
24            IT IS FURTHER ORDERED to the extent Ms Markley seeks to withdraw as counsel in the
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 1   two citation matters cited in the caption of the motion, the motion is DENIED. Mr Budestean is
 2   detained at the Southern Nevada Detention Center in Pahrump and may be contacted there.
 3          Dated this 6th day of December, 2012.
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 5                                              _________________________________________
                                                PEGGY A. LEEN
 6                                              UNITED STATES MAGISTRATE JUDGE
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